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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 18-9982 MWF (KSx)                                       Date: January 9, 2019
Title       Carmen John Perri v. Subway No. 458250, et al.


Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge


                   Rita Sanchez                                        Not Reported
                   Deputy Clerk                                  Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

PROCEEDINGS (IN CHAMBERS):                            COURT ORDER

       In light of the Notice of Settlement [13] filed January 9, 2019, the Court sets
a hearing on Order To Show Cause Re Dismissal for February 11, 2019 at 11:30
a.m. If a stipulated dismissal is filed prior to this date, the matter will be taken off
calendar and no appearance is needed. All other dates and deadlines are hereby
vacated.

        IT IS SO ORDERED.

                                                                         Initials of Preparer: RS/sjm




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